                Case 8-23-71525-las               Doc 2       Filed 05/02/23     Entered 05/02/23 10:09:04



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
        ---------------------------------------------X               Chapter     13
IN RE:  Stephanie M. Rodgers
                                                                     Case No.:

                                Debtor(s)                            STATEMENT PURSUANT TO LOCAL RULE 2017
            ---------------------------------------------X

I, Barbie Lieber BDL, an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
   above-named debtor(s):




                           Date\Time                         Services

                                                             Initial interview, analysis of financial
                                                             condition, etc.

                                                             Preparation and review of
                                                             Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $                           8,500.00   .

Dated: May 1, 2023
                                                        /s/ Barbie Lieber
                                                        Barbie Lieber BDL
                                                        Attorney for debtor(s)
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